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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
CAO/SSS                                            271 Cadman Plaza East
F. #2013R01274                                     Brooklyn, New York 11201



                                                   May 26, 2016

REDACTED, UNSEALED SENTENCING MEMORANDUM1

By Hand and ECF

The Honorable Eric N. Vitaliano
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:       United States v. Sandy Winick
                        Criminal Docket No. 13-452 (ENV)

Dear Judge Vitaliano:

               The government respectfully submits this letter in opposition to the defendant
Sandy Winick’s letters dated May 9, 2016 (“Def. Memo”) and February 3, 2016 (“Def.
Objections”). The Presentence Report (“PSR”) concludes that Winick’s sentence should be
within the advisory United States Sentencing Guidelines (“Guidelines” or “U.S.S.G.”) range of
87 to 108 months. Winick requests a time served sentence. For the reasons set forth below, the
government submits that Winick is not a candidate for a reduced sentence and that the Court
should impose a term of incarceration within the 87 to 108 month range recommended by both
the Guidelines and by the Probation officer.

                As to Winick’s objections to PSR paragraphs 69 and 72, the government submits
that, for substantially the same reasons set forth in the March 29, 2016 PSR addendum, the
objections should be overruled. Winick is scheduled to be sentenced on July 14, 2016.




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        On May 26, 2016, the government filed a sealed sentencing memorandum. The
government, after redacting the earlier memorandum, hereby files this unsealed version of
the same memorandum.
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I.     Background

           A. The Advance Fee Scheme

                As detailed in the PSR, the defendant was involved in an advance fee scheme
with Kolt Curry, Gregory Curry and Gregory Ellis between January 2009 and July 2013. PSR ¶
14. The defendants fraudulently solicited investors in penny stocks to pay advance fees that
purportedly would enable the victims to sell their nearly worthless penny stocks at a profit. PSR
¶ 15. The defendants invented non-existent businesses to convince the victims to pay fees in
advance of selling the securities. Id. The fake companies included fake law firms that solely
existed to serve this scheme. PSR ¶ 15. The defendants maintained calling centers in Vietnam,
Thailand and Canada and intended to open an additional calling center in Brooklyn, New York.
PSR ¶ 17. On recorded phone calls, Winick actually discussed how he was recruiting people to
run these call centers. Id. The victims lived in countries throughout the world, and multiple calls
were made to Brooklyn, New York. Id.

              The defendant was a Canadian citizen and lived, at various times in Thailand,
Vietnam and Canada. PSR ¶ 29. The defendant did not personally make the phone calls to the
victims. Those phone calls were made by others, who were acting at his direction. PSR ¶ 18.
The defendant is responsible for at least $5,000,000 in losses to victims. PSR ¶ 26.

               Although the defendant did not personally make the false statements to the
advance fee victims, it is worthwhile to know the nature of the lies in this scheme. The callers
falsely claimed to represent unidentified (and non-existent) buyers interested in purchasing
worthless penny stocks at an attractive price. PSR ¶ 18. The callers would falsely represent that
the victims needed to pay a fee for a legal opinion before the sale could be consummated. Id.

               If the victim fell for the “law firm fee,” the callers contacted the victim
purportedly as representatives for yet another fake law firm that was suing the penny stock
companies for fraud. Id. To join the law suit, the victim would yet again have to pay a fee. Id.

               Finally, the callers would call yet again to indicate that the victim could receive
extra stock warrants if they first paid a fake warrant conversion fee and a fake Internal Revenue
Service (“IRS”) fee. PSR ¶¶ 20, 22-23. The scheme even went so far as to create fake IRS
letterhead and documents. PSR ¶ 22.

                The fake law firms were established by Winick, who also established phone
numbers for the fake law firm that used California area codes but were actually routed through a
“call center” to ring in Thailand and elsewhere. Winick even created a fake website for the fake
law firm.

              For his above-described conduct, on July 17, 2015, the defendant pleaded guilty
to Count Three of the second superseding indictment, in violation of wire fraud conspiracy. PSR
¶ 1. The defendant’s advisory Guidelines range is 87 to 108 months. See PSR ¶¶ 67-78, 108.




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            B. Pump-and-Dump Scheme

               The defendant pleaded guilty to the advance fee scheme, not the securities fraud
scheme. The government includes a discussion of the pump-and-dump scheme because it speaks
to the defendant’s character. Where the defendant requests a substantial variance from a
Guideline sentence – to a time-served sentence, the defendant’s overall character is clearly at
issue.

                As detailed in the PSR, the defendant was involved in a penny stock pump-and-
dump scheme with Gary Kershner, Songkram Roy Sahachaisere, William Seals and others
between January 2008 and July 2013. PSR ¶ 5. The defendants fraudulently inflated and
attempted to inflate the share prices and trading volumes of certain penny stocks. PSR ¶ 6. After
doing so, the defendants then sold the stocks at a profit after their fraudulent conduct deceived
investors into believing that market forces alone set the stocks’ artificially inflated share prices
and trading volumes. Id. To conceal their control and distribution of the stocks from regulators
and investors, the defendants often falsely reported to brokerage firms the means by which they
acquired the stocks and deposited stocks into accounts held by nominee entities. PSR ¶ 8.

                The defendants promoted the stocks using email blasts, chat rooms, social
networking sites, message boards, stock touting websites and newsletters that contained false and
misleading information and press releases and did not accurately disclose the interest of the
promoters or defendants in the stocks. PSR ¶¶ 9, 11. The defendants coordinated trading
activity with the issuance of false and misleading press releases to create market interest and
inflate the share prices and trading volumes. PSR ¶ 10. Many of the calls and emails used to
coordinate the false and misleading statements were directed toward or emanated from a
cellphone in Brooklyn, New York. PSR ¶ 14. Winick and his co-conspirators also used stolen
and invented identities to promote the Target Stocks. PSR ¶ 9.

              The defendant, a Canadian citizen who lived in Thailand and other places during
the scheme, was the apex of this criminal organization. PSR ¶¶ 29, 51-52.

II.    Sentencing

       A.      The Guidelines Do Not Overstate the Seriousness of Winick’s Crimes

                The defendant begins his sentencing submission with the argument that the fraud
sections of the Guidelines overstate the seriousness of his crimes. Def. Memo at 1-4. This is not
true. If anything Winick’s criminal liability is understated by the Guidelines.

                All of the Guidelines criticisms cited in the defendant’s sentencing memorandum
flow from the view that the Guidelines give an overly expansive, inflated calculation of fraud
defendants’ liability. However, as noted above, Winick orchestrated two enormous international
fraud schemes. By the virtue of his attorney’s skillful advocacy, he received a plea agreement
that solely required him to plead guilty to the one count. Winick’s Guidelines calculations for
this sentencing hearing are similarly confined to solely the advance fee scheme. Therefore, the


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Guidelines, while the result of a fairly negotiated plea agreement, give an artificially constrained
rather than overly expansive view of Winick’s liability.

                 When the facts of this case are placed in the context of the Section 3553(a)
factors, it is evident that:

                       (1)     the offense, which involved two international multi-million dollar
                               fraud schemes based out of multiple countries and victimized
                               hundreds of victims2, was very, very serious, 18 U.S.C. §
                               3553(a)(1);

                       (2)     the defendant, who led these two international schemes and has
                               been involved with international securities fraud for his entire adult
                               life, is not a man of exemplary character, 18 U.S.C. § 3553(a)(1);

                       (3)     an extremely serious crime requires a significant sentence, 18
                               U.S.C. § 3553(a)(2)(A);

                       (4)     an extremely serious crime requires a significant general
                               deterrence to the public, 18 U.S.C. § 3553(a)(2)(B);

                       (5)     an extremely serious crime requires significant specific deterrence
                               to the Winick, who has not held any position but as a fraudster for
                               years, 18 U.S.C. § 3553(a)(2)(B); and

                       (6)     the public must be protected from a fraudster as prolific as Winick.
                               Indeed, Winick’s activities victimized the entire world for years on
                               end. 18 U.S.C. § 3553(a)(2)(C).

              In short, the government submits that no below-Guidelines sentence could
adequately address the Section 3553(a) factors for this defendant.

       B.       The Number of Victims Enhancement is Properly Applied in PSR ¶ 69

                The government concurs with both the PSR and Winick that only a “+2” should
be applied to the offense level. See PSR ¶ 69; USSG § 2B1.1(b)(2)(A). The amendments to the
Guidelines make it clear that although there were hundreds of victims, the mass-marketing of the
crime only results in the lower enhancement.

       C.       Winick’s Role is Properly Applied in the PSR ¶ 72

                Winick next argues that he should not receive an enhanced role. Def. Memo at 5-
6. In broad strokes, he argues that the idea originated with Kolt Curry and that he should not
receive a role enhancement greater than Kolt Curry. The government disagrees.
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           Thousands of victims were injured by the pump and dump scheme.


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                To defraud victims, Winick bankrolled the establishment of multiple boiler rooms
throughout the world. These boiler rooms were managed by people selected by Winick. In fact,
Winick purposefully chose people other than Kolt Curry (such as co-defendant Gregory Ellis) to
manage those boiler rooms because Kolt Curry could not be trusted with that level of managerial
responsibility. Dozens of callers populated these boiler rooms. The fake law firms, websites and
phone numbers were established when Winick directed others to create deceptive entities and
communications. The boiler rooms would then use those tools, from multiple locations
bankrolled by Winick to execute the advance fee scheme. Finally, Winick had the ultimate
responsibility for determining all distributions of fraudulent proceeds. Against that backdrop, the
government submits that it is clear that Winick was the leader of a criminal organization that was
extensive. As such, the PSR correctly provides an upward adjustment of 4 levels under the
Guidelines. See PSR ¶ 72; USSG § 3B1.1(a).



       D.      Winick’s Failed Assistance to the Government

               The bulk of Winick’s submission concerns his failed attempts to cooperate with
the government. Def. Memo at 8-13. These arguments are made with the skill that we expect
from Winick’s extremely persuasive attorney. Indeed, as a legal matter, the Court may properly
consider these meetings as a reason to lower Winick’s sentence. See United States v. Fernandez,
443 F.3d 19, 33 (2d Cir. 2006). However, the government does not agree that the defendant
should receive any credit, pursuant to Title 18, United States Code, Section 3553(a)(1), for his
efforts to cooperate with the government.

              Winick is correct that he met with the government for several proffers. However,
the government does not share Winick’s view of the productivity of those meetings. Several
months in advance of his co-defendants’ trial, the defendant agreed to answer the government’s
questions. However, those meetings were punctuated by several troubling events that ultimately
ended the possibility of Winick’s cooperation.

                Before the first meeting, Winick sent a letter to a co-defendant cautioning that
they should get their “stories straight” and blame a third party named “Rusty Anton Neal.”
Winick began the proffer by blaming Neal and did not acknowledge the plan until confronted
with the letter. This event, by itself, could have ended the meetings. It certainly made it unlikely
that he could ever be used as a testifying witness. However, Winick was involved in myriad
international crimes. The government decided to give Winick the opportunity to discuss all of
his criminal activities, with the hope that he could provide non-testifying substantial assistance in
the initiation of other cases.

                Winick also instructed his wife, Jodi Winick, to hide materials. Winick did not
reveal these instructions to the government until we confronted him with subpoenaed telephone
recordings from the prison. The parties were at another crossroads. Again, the government
decided to give Winick the opportunity to describe all of his activities and then evaluate his
potential substantial assistance. The scope of Winick’s activities were so broad that it took



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several proffers to even begin to address the details of Winick’s crimes. However, the last
proffer ended because Winick still would not accept full responsibility for his crimes:
minimizing and disassembling rather than providing truthful and complete statements to the
government. Ultimately, although Winick spoke extensively with the government, none of that
talk resulted in actionable information and much of it was infected by Winick’s occasionally
casual attitude toward the process. To be clear, no arrests or evidentiary seizures were made
from information provided by Winick and none are expected in the future.

                 Finally, the government has since determined that Winick failed to reveal all of
his assets to the government during the proffers and financial affidavit. We have since found
multiple accounts, domestic and abroad, that Winick declined to inform the government about.
In particular, the government recently confronted Winick with $21,000.00 that is in the Lloyd
Bank in St. Vincent and the Grenadines under one of his alias names. Winick’s position is that
he revealed this account to the government and that he has no control over it. We have
confirmed that Winick never revealed this account to the government.

                Finally, Winick’s counsel skillfully asks the Court to consider the efforts of Jodi
Winick and the opinion of the Canadian government in evaluating Winick. The government
must reiterate that neither Winick nor his wife, separately or taken together, have provided
substantial assistance to the government. Indeed, as detailed above, the government has grave
concerns that the two of them have attempted to conceal information from the government. (The
Grenadine bank account expressly lists Jodi Winick and Winick’s stolen identity: Roben Cheer.)
The opinion of Canada is interesting, but the government submits that their standards and
motivations for making such a recommendation are unclear. As such, while their opinion should
be considered as part of the constellation Section 3553(a) factors, it is not particularly helpful to
this sentencing court’s analysis.

                 In short, the government found the defendant to not be fully truthful, not to be a
usable testifying witness and not to have provided any information that would otherwise amount
to substantial assistance. While, the Court may consider the defendant’s attempted cooperation
in fashioning a sentence under 3553(a), the government submits that the instant circumstances
merit no reduced sentence.

       E.      General Purposes of Sentencing

                 Title 18, United States Code, Section 3553(a) requires the sentencing court to
consider the general purposes of sentencing, including: “the need for the sentence imposed- (A)
to reflect the seriousness of the offense, to promote respect for the law, and to provide just
punishment for the offense; (B) to afford adequate deterrence to criminal conduct; (C) to protect
the public from further crimes of the defendant; and (D) to provide the defendant with needed
educational or vocational training, medical care, or other correctional treatment in the most
effective manner.” Gall v. United States, 128 S. Ct. 586, 597 n.6 (2007).

                Here, the defendant controlled two serious and complex fraud schemes that
involved thousands of victims (hundreds of victims in the advance fee scheme and thousands of
victims in the pump and dump scheme). Accordingly, a sentence of incarceration within the
Guidelines range is needed to send a strong message of deterrence to the general public and to


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adequately reflect the seriousness of the offense, promote respect for the law, and provide just
punishment for the defendant.

       F.        Restitution

               On March 22, 2016, the government filed a letter setting forth its position as to
restitution. Winick has not objected to that proposed restitution order.

III.   Objections
                The government has no further objections to the PSR. For the reasons set forth in
sections II(B) and II(C) above, the government opposes Winick’s objections and to PSR
paragraphs 69 and 72.

IV.    Sealing
                The government respectfully requests that this letter be filed under seal. The
government has never made the defendant’s attempted cooperation known to his co-conspirators.
Because of the nature of the information provided in this letter, exposure of his attempted
cooperation could endanger the life of the defendant and his family. United States v. Doe, 63
F.3d 121, 128 (2d Cir. 1995) (danger to person may be compelling reason to override public’s
right of access in courtroom closure context).
               Moreover, unsealing this letter, and thus revealing the extent of the defendant’s
attempted cooperation to the public and the co-conspirators, will likely harm the ability of law
enforcement to secure current and future cooperation from persons similarly situated to the
defendant, a fact that also weighs against public disclosure. United States v. Amodeo, 71 F.3d
1044, 1050 (2d Cir. 1995).
                Under these circumstances, the parties’ countervailing interests in the defendant’s
safety and the government’s need to secure current and future cooperation from persons similarly
situated to the defendant outweigh the public’s qualified right to access. As the facts set forth
above provide ample support for the “specific, on the record findings” necessary to support
sealing, Lugosch v. Pyramid Co., 435 F.3d 110, 120 (2d Cir. 2006), the government respectfully
requests that the Court record those findings and file this letter under seal.




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IV.    Conclusion

               Sandy Winick is not a typical fraud defendant in any way. For one, he sat at the
apex of two enormous international fraud schemes. These schemes victimized thousands of
people. For another, due to the skilled advocacy of his attorney, Winick enjoys the benefit of
pleading to only one of his many fraud schemes. Moreover, Winick met with the government
multiple times in an attempt to cooperate. However, despite those many proffers, Winick never
provided any substantial assistance to the government: no arrests or evidentiary seizures were
made from the information provided by Winick. Indeed, it appears that Winick was not
forthcoming. For the foregoing reasons, the government respectfully submits that the Court
should sentence Winick within the advisory Guidelines range of 87 to 108 months.


                                                    Respectfully submitted,

                                                    ROBERT L. CAPERS
                                                    United States Attorney

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